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                IN THE UNITED STATES DISTRICT COURT
               FOR THE EASTERN DISTRICT OF VIRGINIA
                         Richmond Division


LISA D. WILLIAMS, et al.,
for themselves and on
behalf of all similarly
situated individuals,

        Plaintiffs,

v.                                       Civil Action No. 3:06cv241

LEXISNEXIS RISK
MANAGEMENT INC.,

        Defendant.

                            MEMORANDUM OPINION

        This matter is before the Court on Plaintiffs’ Motion

to Certify Class (Docket No. 32).                  For the reasons set

forth below, the motion is Granted in part and Denied in

part.

                                   BACKGROUND

        Plaintiffs seek to certify two separate classes, each

alleging that LexisNexis Research Management (“LexisNexis”)

violated a different section of the Fair Credit Reporting

Act (“FCRA”), 15 U.S.C. §§ 1681a et seq.                    One class is

based on claims that LexisNexis violated 15 U.S.C. § 1681k,

and   the   other     is   based    on   the   alleged   violation   of   15

U.S.C. § 1681i.
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       Section     1681k     of     the    FCRA    requires     that,      when    a

consumer reporting agency (“CRA”) furnishes a report to a

customer    regarding       a     consumer, 1     and   the    report      contains

information on the public record that is “likely to have an

adverse    effect”         upon    a      consumer’s     ability      to     obtain

employment,      the   CRA      must   “notify”        the   consumer      “at   the

time” it furnishes the report to the prospective employer.

15 U.S.C. § 1681k(a)(1). 2                 The Federal Trade Commission

(“FTC”), which is empowered to administer and enforce the

FCRA, see § 1681s(a), has interpreted this requirement to

mean that “[a] [CRA] may use first class mail to provide

the notice required by [§ 1681k(a)(1)].”                       16 C.F.R. part

600 app. § 613(4) (2000).

       Section     1681i     requires          that,    when   “the     consumer”

disputes information on file with a CRA and “the consumer

notifies the agency directly” of the dispute, the agency

must     conduct       a     reinvestigation            into    the        disputed

information, and take some action (i.e., record the current

status of the item, change the item, or delete the item)

1
     In the argot of the FCRA, “customers” are persons,
like employers, who pay a CRA to access consumer reports;
“consumers” are individual persons of whom reports are
created.
2
     Alternatively, the CRA may adopt “strict procedures”
to ensure that such reports are accurate.     15 U.S.C. §
1681k(a)(2).   That section of § 1681k is not at issue in
this litigation, however.

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within 30 days.         15 U.S.C. § 1681i(a)(1)(A).               In conducting

this reinvestigation, § 1681i (a)(2) requires the CRA to

contact the source of the information within five business

days, and        § 1681i (a)(5) requires the CRA “promptly” to

change the disputed information if the CRA finds that it is

inaccurate.       The FTC has interpreted subsection (a)(1) to

mean that “[a] [CRA] need not reinvestigate a dispute about

a consumer’s file raised by any third party, because the

obligation under the section arises only where an item of

information in his file is disputed by the consumer.”                              16

C.F.R. pt. 600 § 614(8) (quotation omitted).

       Notwithstanding a CRA’s obligations under subsection

(a)(1),     if    the     CRA       “reasonably       determines”         that     the

consumer has failed to provide it “sufficient information

to     investigate      the     disputed          information,”      it       is   not

required    to    conduct       the    reinvestigation.           15      U.S.C.    §

1681i(a)(3).         If       the     CRA       decides   not   to       conduct    a

reinvestigation pursuant to § 1681i(a)(3), however, the CRA

must    contact    the     consumer         and    “identif[y]       .    .    .   any

information        required           to        investigate     the           disputed

information . . . .”                § 1681i(a)(3)(C)(ii).            The CRA may

contact the consumer by means of a standard form.                         Id.




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    1.    LexisNexis

         LexisNexis is a CRA that provides a service called

“Securint,”         which       allows    employers      and      other   paying

customers      to         research       the    criminal       backgrounds    of

consumers. 3        When a customer queries a consumer’s record,

the      Securint    system      searches       its   database,     and   returns

information about the consumer.

         LexisNexis has developed a procedure which, it argues,

puts it in compliance with § 1681k.                      When an employer’s

query      turns     up     a    public    record      that    LexisNexis    has

categorized as “likely to have an adverse effect upon a

consumer's ability to obtain employment,” see § 1681k(a), a

computer program automatically sends that consumer’s name

and address, along with other information, to a spreadsheet

file.        The     spreadsheet         file    is    sent    to   LexisNexis’

“Compliance” department, usually at the end of each day.

The Compliance department uses a mail-merge system, which

merges the information in the spreadsheet onto a letter.

The letter contains information required by § 1681k, along

3
     At the time here at issue, it appears that Securint
was owned by another company, called Seisint Decision
Services, Inc.      Seisint appears to have merged into
LexisNexis, and neither party disputes that LexisNexis is
exposed to liability for the claims made in the Amended
Complaint.   For the sake of simplicity, this Memorandum
Opinion refers to LexisNexis as committing the acts, even
though the acts at certain times may have been committed by
a different entity.

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with   other      information           regarding     the    consumer’s      rights

under the FCRA.          This letter is then sent to the consumer,

usually,        but    not    always,      a    day     after    the    LexisNexis

customer accessed the consumer’s report.                        Plaintiffs argue

that this procedure violates § 1681k because it does not

notify the consumer “at the time” the report is furnished

to the customer.

       When a consumer contacts LexisNexis to challenge its

report, LexisNexis has adopted a procedure that, it argues,

complies with § 1681i.                  If the consumer does not provide

copies     of    two    forms      of   identification        with     the   initial

request for a reinvestigation, LexisNexis does not begin a

reinvestigation immediately, but instead sends the consumer

a   form    requesting        that      the    consumer      prove     his   or   her

identity by sending LexisNexis photocopies of two forms of

identification.          If, and when, the consumer replies with

copies of two forms of identification, LexisNexis conducts

the requested reinvestigation.                  LexisNexis also declines to

conduct a reinvestigation if the consumer has not submitted

sufficient        information           about     the       dispute     to     allow

LexisNexis to conduct a reinvestigation, or if LexisNexis

concludes        that        the    request      for        reinvestigation        is

frivolous.




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    2.    The Class Representatives

         Telespectrum, Inc. (“Telespectrum”) employed all the

putative class representatives.                              Telespectrum, which used

LexisNexis’         Securint          system    as       a    “customer,”         decided   to

conduct background checks on some of its employees.                                         On

February       2,    2005,       it    entered        the      class      representatives’

information into Securint’s online system.                                   Each of the

Plaintiffs’          records          turned        up       one     or    more     criminal

convictions. 4             As    described          above,         LexisNexis’      computer

system     automatically              kicked    into          action,      and    LexisNexis

mailed the § 1681k letters to the plaintiffs on February 3,

the next day.

         Telespectrum fired all the plaintiffs because of their

criminal records, as reported by Securint.                                 The plaintiffs

testified           that        they     called              LexisNexis      to      request

reinvestigations, with varying results.

         Two   of    the        plaintiffs      (Bennett            and    Cox)    contacted

LexisNexis on February 17 and requested a reinvestigation.

LexisNexis          sent    them       the     form      requesting         two    kinds    of

identification.             They completed the form, sent it back to

LexisNexis, and LexisNexis completed its reinvestigations

on March 11--less than 30 days from the initial contact.

4
     Plaintiffs allege that all of Securint’s reports of
the   representative  plaintiffs’ criminal  records  were
inaccurate.

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      Two other plaintiffs (Sanders and Williams) contacted

LexisNexis    and    requested    a   reinvestigation.           LexisNexis

sent them the form requesting two kinds of identification.

The plaintiffs returned the form after a delay.                  LexisNexis

completed the reinvestigations within 30 days of receiving

the completed forms, but more than 30 days from the initial

request for reinvestigation.

      One of the plaintiffs (Allen) contacted LexisNexis and

requested a reinvestigation.              LexisNexis sent her the form

requesting     ID.      Allen    never       returned    the    form,    and

LexisNexis never conducted a reinvestigation.

      Finally, one of the plaintiffs (Matthews) contacted

LexisNexis     to    complain    that       her   criminal     report    was

incorrect.     The LexisNexis representative thought Matthews

was requesting a copy of her consumer report, and sent her

that instead. LexisNexis did not conduct a reinvestigation.

      On   these     events,    Plaintiffs        move   to    certify   two

classes.     Plaintiffs propose to define the class based on

violation of § 1681i as,

      All natural persons residing in the United States
      who were the subject of a consumer report
      prepared by Defendant within 2 years prior to the
      filing of this complaint for whom Defendant
      refused to conduct a reinvestigation of a dispute
      until and unless the consumer first filled out
      and returned a specific form furnished and
      demanded by Defendant and/or provided with his or



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      her   dispute   photocopies                of    two    forms      of
      identification.

Plaintiffs propose to define the class based on violation

of § 1681k as,

      All natural persons residing in the United States
      who were the subject of a consumer report
      prepared by Defendant within 2 years prior to the
      filing of this complaint and to whom Defendant
      did not provide notice that it was furnishing a
      consumer    report   on   them   prior    to   or
      contemporaneously with its provision of the
      report.

As   to     both    putative     classes,         Plaintiffs      claim       that

LexisNexis violated both § 1681k and § 1681i willfully,

within the meaning of § 1681n.

      In a separate count, plaintiffs also claimed, only as

individuals,       that   LexisNexis       had    violated    §   1681e(b)     by

failing to establish and follow reasonable procedures to

assure the accuracy of their reports.                    (Amended Complaint

(Docket No. 33) Count I).

                                DISCUSSION

      Plaintiffs have moved for class certification pursuant

to   Fed.   R.     Civ.   P.   23(b)(3).          To   be    appropriate      for

certification,        the      class       must        satisfy     the        four

certification prerequisites of Fed. R. Civ. P. 23(a) and

the certification requirements of Fed. R. Civ. P. 23(b)(3).




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I.    Fed. R. Civ. P. 23(a)—Prerequisites

      a.    Numerosity

      The      numerosity         prerequisite     permits        class

certification only if the proposed class is so numerous

that joinder of all members is impracticable.

      LexisNexis challenges the proposed classes based on

the numerosity prerequisite, claiming that, in reality, the

proposed classes only 38 members strong.           These 38 members

would appear to be the 38 people, among them the class

representatives,      who    Telespectrum    fired.       LexisNexis’

counsel stated that LexisNexis makes this argument in order

to preserve it for appeal, and the Court does not consider

it further here. The numerosity prerequisite appears to be

satisfied as to both classes--the § 1681i class has 430

putative members, and the § 1681k class has at least 557

putative members.        These numbers are sufficient to make

joinder impracticable.

      b.    Commonality

      The      commonality        prerequisite      permits       class

certification only if there are one or more questions of

law   or    fact   common    to   the   class.     To   satisfy   this

prerequisite, there need be only a single issue common to

the class.     See Central Wesleyan Coll. v. W.R. Grace & Co.,




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 143 F.R.D. 628, 636 (D.S.C. 1992), aff’d 6 F.3d 177 (4th

 Cir. 1993).

       LexisNexis does not dispute that the putative classes

 satisfy     this     prerequisite,      and      indeed,       both      putative

 classes satisfy the commonality prerequisite, as all the

 putative class members either received a notice pursuant to

 §    1681k,     or     contacted        LexisNexis         to      request      a

 reinvestigation under § 1681i.             Thus, at least one common

 issue of fact exists as to each putative class.

       c.     Typicality

       The   typicality       prerequisite      focuses        on   the    general

 similarity of the class representatives’ legal and remedial

 theories to those of the proposed class.                      See Jenkins v.

 Raymark Indus., Inc., 782 F.2d 468, 472 (5th Cir. 1986).

 LexisNexis    does     not    dispute     that    the    putative        classes

 satisfy this prerequisite.

       As to the § 1681k class, LexisNexis mailed all the

 putative class representatives the § 1681k notice one day

 after Telespectrum accessed their consumer reports, and the

 undisputed evidence shows that it is LexisNexis standard

 policy to mail the § 1681k notices to all consumers at

 least one day after their reports are accessed.                       As to the

 §   1681i   claims,    LexisNexis       sent     all    the     representative

 class members a form requesting copies of two forms of


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 identification before LexisNexis began its reinvestigation,

 and   the    undisputed    evidence       is    that     it    is    LexisNexis’

 standard practice not to begin a reinvestigation unless it

 has evidence of the consumers’ identity by way of at least

 two photocopies of identification documents. 5

       d.     Adequacy of Representation

       The adequacy of representation prerequisite requires

 the Court to be satisfied that “the representative parties

 will fairly and adequately protect the interests of the

 class.”      Fed. R. Civ. P. 23(a)(4).            LexisNexis claims that

 the   proposed     class    does    not        satisfy    the       adequacy   of

 representation           prerequisite           because             the     class

 representatives      and    class    counsel       have       a     conflict   of

 interest with the absent members of the class.

       This    is   so,    argues    LexisNexis,          because      the   class

 representatives,     with    class    counsel       as     their      individual

 attorneys, have also asserted a claim against LexisNexis as

 individuals for violations of § 1681e(b). 6                   Plaintiffs agree


 5
      Plaintiff Matthews’ case presents something of a
 problem, because LexisNexis may argue that she never
 requested a reinvestigation in the first place, which would
 subject her to a unique defense. LexisNexis does not raise
 this possibility here, however, and the Court declines to
 consider it at this time. Should it become necessary to do
 so, the Court will consider the matter later.
 6
      Section 1681e(b) reads, “Whenever a [CRA] prepares a
 consumer report it shall follow reasonable procedures to

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 that they assert the § 1681e(b) claim only as individuals,

 but they argue that they do so because § 1681e(b) claims

 require    a    showing    of   inaccuracy       as   a   threshold        matter.

 Asserting a § 1681e(b) claim for the entire class would

 render the class-action device useless, note Plaintiffs,

 because it would require an assessment of whether or not

 each    class       member’s    report    was,    in      fact,       inaccurate.

 Moreover, plaintiffs argue that the assertion of related

 individual claims does not make them unfit representatives

 because, while the adequacy prerequisite requires that the

 class representatives’ claims be coextensive with the class

 members’, it does not require that they be identical.

        Plaintiffs’ argument is correct, as to both classes.

 The    adequacy       of   representation        prerequisite          does     not

 require that the interests of the named representative and

 the absentee class members be identical.                        See     Kamen v.

 Kemper Fin. Servs., Inc., 908 F.2d 1338, 1349-50 (7th Cir.

 1990) rev’d on other grounds, 500 U.S. 90 (1991) (holding

 that members of a class are never perfectly homogeneous,

 and differences in incentives among class members are not

 equivalent to concrete conflicts of interest).                      Rather, the

 interest       of    the   representatives       and      the     absent      class



 assure maximum possible accuracy of the information
 concerning the individual about whom the report relates.”

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 members merely must be coextensive.                       See, e.g., Wm. Moore

 et al., 5 Moore’s Federal Practice § 23.25[2][b][i].                                 In

 this case, all the class representatives assert the same

 claims as the absent class members, so representation is

 not       inappropriate        on      those     grounds.              Adequacy      of

 representation would be a concern if, for instance, the

 class      representatives        used    the    class     claims      to    leverage

 higher settlements on their individual claims, see id. at §

 23.25[2][b][viii], but such issues are not before the Court

 at this time. 7

      I.        Fed. R. Civ. P. 23(b)(3)--Criteria

           Plaintiffs seek class certification pursuant to Fed.

 R. Civ. P. 23(b)(3).              To certify a class under Fed. R. Civ.

 P. 23(b)(3), it is necessary that questions of law or fact

 common         to   the   class        predominate        over    any       questions

 affecting only individual members, and that a class action

 is    superior       to   other     available        methods     for    a   fair    and

 efficient adjudication of the controversy.

                a. Predominance

           To    satisfy   Fed.    R.    Civ.    P.    23(b)(3)’s       predominance

 requirement,          common      questions          of   law     or     fact      must


 7
      In its brief, LexisNexis challenged the adequacy of
 class counsel, but it abandoned that challenge at oral
 argument.   And, the record shows that class counsel is
 adequate.

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 predominate over questions affecting only individual class

 members.       Plaintiffs’ class claims are based on two of

 LexisNexis’ standard procedures.                   As the claims rise and

 fall on the propriety of these standard procedures, common

 issues     would     appear       to     predominate.                Nonetheless,

 LexisNexis argues that common claims do not predominate,

 for several reasons.

       First,    as   to   both     §1681i         and      §    1681k,   LexisNexis

 argues     that      certification           is     inappropriate           because

 individual      issues      of    statutory         and         punitive    damages

 predominate     over     common    issues.            LexisNexis         makes   this

 argument     relying       on     the        decision           in   Williams      v.

 Telespectrum, 3:05cv853 slip op. (E.D. Va. June 4, 2007)

 wherein the Court ruled that individual punitive damages

 issues predominated in the litigation.                          That decision is

 inapplicable to this case.              In Telespectrum, statutory and

 punitive damages were to be tried as class claims, and

 actual    damages    were    to   be     tried        as       individual   claims.

 There,     individual       punitive         damage        issues    predominated

 because the plaintiffs’ alleged actual damages, which had

 to be tried individually, were much larger than statutory

 damages, and thus would permit far larger punitive damage

 awards if each class member tried their claims individually

 than if the claims were tried on a class-wide basis, where


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 they would be measured for due process concerns against

 statutory    damages      only.         In   this     case,    by    contrast,

 Plaintiffs    do    not    seek    actual     damages    at    all,    and    if

 statutory and punitive damages are awarded, they will be

 divided     equally     among     the    class      members.        Individual

 punitive    and    statutory      damages     issues    therefore      do    not

 predominate.

        Second, as to both classes, LexisNexis argues that a

 “willfulness” claim requires individual proof.                        It bases

 this argument on the Supreme Court’s recent decision in

 Safeco Insurance Co. v. Burr, No. 06-84 (June 4, 2007).                       In

 Safeco, the Supreme Court held that “willfulness” under the

 FCRA is “conduct . . . entailing an unjustifiably high risk

 of harm that is either known or so obvious that it should

 be known.”        Slip op. at 19.            LexisNexis draws from this

 that    Safeco      requires      two-step        analysis--whether          the

 violation occurred, and whether the violation was reckless-

 -and that this analysis requires a court to examine the

 circumstances      of     each    individual.          Accepting      arguendo

 LexisNexis’ characterization that Safeco requires a tiered

 inquiry,     the      Court      nonetheless        fails      to    see     why

 recklessness          requires          inquiry        into         individual

 circumstances.        In the § 1681i class, LexisNexis adopted a

 standard procedure to require photocopies of at least two


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 forms of identification before beginning any inquiry.                                     In

 the    case     of    the       §       1681k    class,      LexisNexis         adopted    a

 standard procedure not to send notices simultaneously with

 the    access        it        gave      to     Plaintiffs’        employers.             The

 Plaintiffs’ class allegations charge that these standard

 procedures violated the FCRA, and that, in adopting these

 procedures, LexisNexis willfully violated the FCRA.                                  It is

 not readily apparent how an inquiry directed at LexisNexis’

 state of mind in adopting standard procedures is affected

 by any particular case in which those standard procedures

 were applied.             Nor does LexisNexis explain why that would

 be so.

        Third, LexisNexis argues that both § 1681i and § 1681k

 require    inaccuracy            as      a    threshold      matter.         That    would

 require,      says         LexisNexis,            inquiry       into       whether      each

 individual class members’ inquiry was, in fact, inaccurate.

 Therefore,      argues          LexisNexis,          those    individual        inquiries

 will   predominate             over      common      issues.       The      argument      is

 incorrect.       As to the § 1681k class, the one decision to

 discuss    an    accuracy             threshold      at   any    length      dealt      with

 another    portion         of       §    1681k,      which   had      to   do    with    the

 reasonableness            of    a       CRA’s   procedures       to    ensure      that    a

 report was accurate and up to date.                             See Obabueki v. IBM




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 Corp., 145 F. Supp. 2d 371 (S.D.N.Y. 2001). 8                        In that case,

 because the court was analyzing the reasonableness of the

 CRA’s procedures, it analyzed them under § 1681e(b).                           Under

 that    section,       when    a    report      is    in   fact     accurate,      the

 procedure is per se reasonable.                       In the § 1681k claims

 here, by contrast, plaintiffs are claiming that LexisNexis’

 notice       was    improper.        The     claim     therefore      is     entirely

 independent of the accuracy of the report.                         As to § 1681i,

 as     Plaintiffs       noted        during      the       class     certification

 argument, § 1681i imposes obligations on CRAs even where

 the report is accurate.                See § 1681i(a)(1)(A) (requiring

 CRA     to    “record     the       current      status      of     the      disputed

 information” where information is accurate).                         In any event,

 these    classes      seek     statutory        and    punitive      damages,      not

 actual damages.         Inaccuracy, which is closely connected to

 any     actual      damages,       would   therefore        not     appear    to   be

 relevant.

         Fourth, again as to both classes, LexisNexis argues

 that individual issues of causation would predominate in

 the litigation.           This argument misapprehends Plaintiffs’

 theories       of    relief.          Were      Plaintiffs         seeking     actual


 8
      Obabueki dealt with a claim under § 1681k(a)(2), which
 requires a CRA to “maintain strict procedures designed to
 insure that [certain public record information] . . . is up
 to date.” 15 U.S.C. § 1681k(a)(2).

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 damages,        LexisNexis’         argument         would       be        well-taken.

 However, Plaintiffs are seeking only punitive and statutory

 damages, neither of which require a showing of individual

 harm.     See Owner-Operator Indep. Driver Ass’n. Inc. v. USIS

 Commercial Servs., Inc., 2006 WL 2164661, *2 (D. Colo. July

 31, 2006) (“[A] plaintiff who has proven that the defendant

 willfully       failed      to   comply       with    the      FCRA       may       recover

 statutory       and    punitive     damages         without     proof          of    actual

 damages.”).           Thus, whether a LexisNexis violation of the

 FCRA caused any class member to suffer harm is irrelevant

 to the litigation.

         LexisNexis      next     focuses       on    the   §   1681i       class,        and

 argues     that        it    does      not      satisfy        the        predominance

 requirement, for four reasons.

         LexisNexis’ first and second arguments focus on the

 fact     that     the       proposed      §     1681i       class         is     actually

 prosecuting       several        different          theories         of        liability.

 First,     LexisNexis         argues    that         “common     issues             do   not

 predominate regarding the use of [LexisNexis]’ request for

 investigation form”; second, “individual issues predominate

 relating    to    the       sufficiently       of    the    information             of   the

 dispute    provided         by   the    consumer.”             While       LexisNexis’

 arguments are not entirely clear, both arguments do point




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 to one problem with the § 1681i class as Plaintiffs have

 currently defined it.

       Currently, the proposed § 1681i class is defined to

 include persons for whom LexisNexis refused to conduct a

 reinvestigation “until and unless the consumer first filled

 out and returned a specific form furnished and demanded by

 [LexisNexis]      and/or     provided             with        his    or        her     dispute

 photocopies      of   two    forms       of        identification.”                  (emphasis

 added)     Because of the way § 1681i is structured, this

 definition       includes        in      the        class          individuals            whose

 individual claims would predominate over issues common to

 the class.

       Section     1681i(a)(3)           permits          a    CRA        to    terminate       a

 reinvestigation       if     it        “reasonably            determines”              that    a

 dispute is frivolous, or if it reasonably determines that

 it does not have sufficient information about the dispute

 to conduct a reinvestigation.                       In that event, subsection

 (a)(3)    requires    the        CRA    to        send       the    consumer          a   form.

 LexisNexis    sends    out       this        form    if       a    consumer           fails   to

 provide    two    forms     of    identification                  with        their    initial

 request for reinvestigation.                      However, it also sends out

 the form if it determines that the dispute is frivolous, or

 if   it   determines       that        the    customer             has    not        submitted




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 sufficient information about the dispute for LexisNexis to

 conduct a reinvestigation.

       Because     LexisNexis           sends       out     forms        for    various

 reasons,    individual       issues       would      predominate         in    certain

 circumstances      if      the    class       is    defined        as    broadly     as

 Plaintiffs suggest.              Individual issue would come to the

 fore in cases where the consumer did submit copies of two

 forms of identification with the initial dispute, but where

 LexisNexis      nonetheless           sent    out        the   form      because      it

 determined      pursuant         to    (a)(3)       that       the      dispute      was

 frivolous or that the consumer had not provided sufficient

 information.          In   such       cases,       the    Court      would     not   be

 addressing LexisNexis’ standard procedure of requiring two

 photocopies of identification documents.                        Rather, it would

 be dealing with the question of whether, under subsection

 (a)(3),    it   was     “reasonable”         for    LexisNexis          to    determine

 either that a particular dispute was frivolous, or that a

 particular consumer had provided insufficient information

 to conduct an investigation.                  This would require the Court

 to investigate the facts of each individual’s case, and to

 decide      whether         LexisNexis              made       a        “reasonable”

 determination. 9      For such putative class members, individual


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      Not only would such a class require investigation into
 individual issues, the plaintiffs likely would have to

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 issues, rather than common issues, would predominate, and

 certifying a class that included plaintiffs pressing such

 claims    would      be        inappropriate      under      Rule     23(b)(3)’s

 predominance requirement.

       Therefore,         the    §   1681i    class    must      be    defined   to

 include only those individuals for whom LexisNexis refused

 to conduct an investigation until the consumer provided two

 forms of identification.             The issues in such a class would

 be focused on whether LexisNexis violated the law when it

 implemented       that    standard     policy.         So      limited,   issues

 common to the class clearly predominate over issues unique

 to individual members of the class.                  The § 1681i class will

 be so defined in the forthcoming class certification order.

       While this aspect of LexisNexis’ first two arguments

 regarding    the    §     1681i     class    is   correct,       LexisNexis     is

 incorrect    to    the     extent    that    it   argues       that   individual

 issues predominate regarding claims based on the two-types-

 of-identification         requirement        alone.       If    the    class    is

 defined as those individuals for whom LexisNexis refused to

 conduct a reinvestigation until the consumer provided two


 advance different theories of liability for different class
 members.    This indicates that common issues would not
 predominate in the class litigation. See Wm. Moore et al.,
 5 Moore’s Federal Practice § 23.45[1] (noting that courts
 assess predominance, inter alia, by determining whether
 “[t]he same theory of liability is asserted by . . . all
 class members . . . .”).

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 forms    of     identification,       common        issues,     not     individual

 issues, predominate.             In such a case, plaintiffs would have

 a     single,      common        theory     of      liability         (i.e.,        that

 LexisNexis’ standard procedure of requiring two forms of

 identification        violated      the    FCRA).        The    only    individual

 issue of proof would be whether an individual plaintiff

 sent     two     forms    of     identification         with    their       original

 reinvestigation request, and whether LexisNexis refused to

 conduct an investigation until the consumer provided two

 forms of identification.             This is a question susceptible to

 ready    judicial        determination,          and   therefore       is    not      an

 individual issue that would threaten to overwhelm the class

 litigation.        Thus, LexisNexis’ first and second arguments

 are correct and well-taken as they relate claims outside of

 the     “two      forms     of     identification”           requirement,            but

 incorrect        as      they     relate       to      the     “two     forms         of

 identification” requirement itself.

         Third,    LexisNexis       claims      that    common    issues        do    not

 predominate because, in each case, the Court will have to

 determine whether the identification documents that each

 individual class member provided were sufficient, or not.

 That argument misses the mark.                 The common question here is

 whether LexisNexis was permitted to insist on at least two

 forms of identification.                  Individuals who submitted less


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 than two forms of identification fall squarely into the

 class.       Whether       an     individual            submitted        two    forms      of

 identification        is    a    question          readily        determinable      as     to

 each class member, and would not be likely to predominate

 in the litigation.

        Fourth, LexisNexis argues that, because some of the

 class members will have had their investigations completed

 within 30 days of their initial request while others will

 not have, common issues do not predominate because there

 effectively would be two sub-classes of plaintiffs who will

 have   to   assert      different         theories           of       liability.      This

 argument is incorrect because Plaintiffs have asserted a

 single theory of liability to cover both circumstances:                                   in

 refusing to conduct a reinvestigation in response to the

 initial     request,         LexisNexis            ignored        a     request     for     a

 reinvestigation, and forced the class members to make a

 second “request” for a reinvestigation, via the forms it

 sent   them.        Under       this    theory,         LexisNexis        violated        its

 obligations     under        the       FCRA        as   to    the       first     request,

 regardless      of     how      quickly            an   inquiry         was     eventually

 conducted.          Because      neither       “group”        relies       on    different

 theories       of     liability,              common         issues           predominate.

 Therefore,      the        fact        that        LexisNexis           completed       some




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 investigations within 30 days of the initial request does

 not defeat the predominance requirement.

           b. Superiority

       The    proposed     classes    involve    at    least        hundreds,

 perhaps     thousands,     of   proposed     class   members       pursuing

 identical, fairly small claims for relief, who, if required

 to proceed individually, probably would not assert their

 claims.     The class action device therefore appears to be a

 superior means of resolving their disputes.                    See    In re

 Kirchner Med. Corp. Sec. Litig., 139 F.R.D. 74, 80 (D. Md.

 1991) (finding class action superior when class consisted

 of   numerous    members    with    claims    too    small    to     warrant

 individual suits).

       LexisNexis argues that nonetheless, when statutory and

 punitive damages are grossly out of proportion with the

 actual damages suffered by any class member, class action

 is   an   inappropriate    vehicle   for     resolving   the       disputes.

 LexisNexis bases this argument on Ratner v. Chem. Bank of

 N.Y. Trust Co., 54 F.R.D. 412, 416 (S.D.N.Y. 1972), which

 held that the class action device was not inferior where no

 class member had been harmed, and the defendant faced “a

 horrendous, possibly annihilating punishment. . . .”                     54

 F.R.D. at 416.          That position is unpersuasive.               First,

 LexisNexis does not support its position with evidence.                  It


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 has   not   provided         evidence      estimating         what        the    proposed

 classes are likely to recover, and it has not provided

 evidence     about      how    such       a     recovery          would     affect    its

 financial position.

       Furthermore,           the     legal       premise           for      LexisNexis’

 argument is without merit.                    As Judge Easterbrook of the

 United    States     Court     of    Appeals       for       the    Seventh       Circuit

 recently put it when addressing similar concerns, “it is

 not appropriate to use procedural devices to undermine laws

 of which a judge disapproves. . . .                                While the [FCRA]

 remains on the books, . . . it must be enforced rather than

 subverted.         An     award      that        would       be     constitutionally

 excessive    may     be   reduced,         but    constitutional            limits    are

 best applied after a class has been certified.”                                 Murray v.

 GMAC Mortgage, 434 F.3d 948, 953-54 (7th Cir. 2006).

       Indeed, Congress created two separate sets of remedies

 to provide relief from CRAs’ violations of the FCRA.                                 If a

 CRA was found to have violated the statute negligently, a

 plaintiff could recover actual damages only.                              However, if a

 CRA   was    found      to    have        violated       a    statute        willfully,

 Congress     provided        that    a     plaintiff         could        recover    both

 statutory and punitive damages, regardless of any actual

 damages     the    plaintiff        may    have    suffered.               Furthermore,

 Congress    could     have,        but    did    not,    forbid          class    actions


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 based on statutory and punitive damages alone.                               Provided

 that    these      remedies      are    constitutional,          the    Court     must

 enforce       them.       For      these     reasons,       the        Court     finds

 LexisNexis’        position       unpersuasive.          The    damages        awarded

 against it in either class action, if any, may turn out to

 be excessive, but, as the Murray decision suggests, that is

 an issue with which the Court may not deal at this time.

         In short, both classes that Plaintiffs seek to have

 certified represent large groups of individuals with common

 claims, who would be unlikely to prosecute litigation on

 their       own.     The    class       action    device    is       therefore     the

 superior device for resolving these claims.

                                     CONCLUSION

         For the reasons set forth above, the Court finds that

 both    the    proposed         class    claiming       violation      of    §   1681k

 satisfies both Rule 23(a) and Rule 23(b)(3).

         It   further       finds    that    the    proposed       class      claiming

 violation of § 1681i satisfies the prerequisites of Rule

 23(a).       The Court finds that as defined by the plaintiffs,

 the     §    1681i      class    does      not    satisfy      the     predominance

 requirement        of    Rule    23(b)(3),        but   that     a    more     limited

 class, as set forth above, does satisfy the predominance

 requirement.            Finally, the Court finds that the § 1681i




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 class        satisfies   the     superiority    requirement    of     Rule

 23(b)(3).

         An    order   granting    class   certification   in   part    and

 denying class certification in part shall issue consistent

 with this opinion.

         The Clerk is directed to send a copy of the Memorandum

 Opinion to all counsel of record.



                                                /s/
                           Robert E. Payne
                           Senior United States District Judge


 Richmond, Virginia
 Date: August 23, 2007




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